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                IN THE UNITED STATES DISTRICT COURT FOR
                   THE WESTERN DISTRICT OF OKLAHOMA

FEDERAL TRADE COMMISSION,              )
                                       )
             Plaintiff,                )
                                       )
vs.                                    )
                                       )
YOUR YELLOW BOOK, INC., a              )
corporation, also d/b/a YOUR           )
YELLOW BOOK,                           )
                                       )
BRANDIE MICHELLE LAW,                  )       Case No. CIV-14-786-D
individually and as an officer of      )
YOUR YELLOW BOOK, INC.,                )
                                       )
DUSTIN R. LAW, individually and as     )
an officer of YOUR YELLOW              )
BOOK, INC.,                            )
                                       )
ROBERT RAY LAW, individually           )
and as an officer of YOUR              )
YELLOW BOOK, INC.,                     )
                                       )
             Defendants.               )

  DEFENDANTS YOUR YELLOW BOOK, INC., BRANDIE MICHELLE LAW,
     DUSTIN R. LAW, AND ROBERT RAY LAW’S WITNESS LIST FOR
                PRELIMINARY INJUNCTION HEARING

      Defendants Your Yellow Book, Inc. (“YYB”), Brandie Michelle Law (“Brandie

Law”), Dustin R. Law (“Dustin Law”), and Robert Ray Law (“Robert Law”)

(collectively, “Defendants”) submit their witness list for the preliminary injunction

hearing.




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    NAME AND ADDRESS                                EXPECTED TESTIMONY
1   Brandie Michelle Law                            Defendant.       May testify to all
    c/o Kevin Krahl and John Krahl                  aspects of this action.
    Fuller, Tubb, Bickford & Krahl
    201 Robert S. Kerr, Suite 1000
    Oklahoma City, OK 73102
    (405)235-2575
2   Dustin R. Law                                   Defendant.       May testify to all
    c/o Kevin Krahl and John Krahl                  aspects of this action.
    Fuller, Tubb, Bickford & Krahl
    201 Robert S. Kerr, Suite 1000
    Oklahoma City, OK 73102
    (405)235-2575
3   Robert Ray Law                                  Defendant.       May testify to all
    c/o Kevin Krahl and John Krahl                  aspects of this action.
    Fuller, Tubb, Bickford & Krahl
    201 Robert S. Kerr, Suite 1000
    Oklahoma City, OK 73102
    (405)235-2575
    Any witness not identified above needed to
    authenticate documents and/or records.
    Any and all witnesses identified by Plaintiff
    at any time, not objected to by Defendants.


                                      Respectfully submitted,


                                      s/ Kevin E. Krahl________________________
                                      Kevin E. Krahl, OBA #11126
                                      John A. Krahl, OBA #31124
                                      FULLER, TUBB, BICKFORD & KRAHL, PLLC
                                      201 Robert S. Kerr, Suite 1000
                                      P.O. Box 887
                                      Oklahoma City, OK 73101-0887
                                      Telephone: (405) 235-2575
                                      Fax: (405) 232-8384
                                      krahl@fullertubb.com
                                      jkrahl@fullertubb.com
                                      Attorneys for Defendants Your Yellow Book,
                                      Inc., Brandie Michelle Law, Dustin R. Law, and
                                      Robert Ray Law


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                             CERTIFICATE OF SERVICE

        I hereby certify that on this 14th day of August, 2014, I electronically transmitted
the attached document to the Clerk of Court using the ECF System for filing. Based on
the record currently on file, the Clerk of Court will transmit a Notice of Electronic Filing
to the following ECF registrants:

Reid A. Tepfer
Thomas B. Carter
Federal Trade Commission-DALLAS
1999 Bryan St, Suite 2150
Dallas, TX 75201
rtepfer@ftc.gov
tcarter@ftc.gov
Attorneys for Plaintiff Federal Trade Commission

                                                 s/ Kevin E. Krahl__________________
                                                 Kevin E. Krahl




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